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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:      18-20463-CR-SCOLA

 UNITED STATES OF AMERICA,

 vs.

 RONALD BERNADINO RUIZ-MENDEZ,

             Defendant,
 _________________________________________/

                                   NOTICE OF APPEARANCE

        The United States of America, by and through the undersigned Assistant United States

 Attorney, hereby files this Notice of Appearance as counsel on behalf of the United States

 regarding issues of criminal forfeiture in this cause.

                                                          Respectfully submitted,

                                                          BENJAMIN G. GREENBERG
                                                          UNITED STATES ATTORNEY

                                                By:       s/Daren Grove
                                                          Daren Grove (Court No. A5501243)
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 18, 2018, the undersigned electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF.

                                                 s/Daren Grove
                                                 Daren Grove
                                                 Assistant United States Attorney




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